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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


JUSTIN GUY, individually and on
behalf of those similarly situated,
                                             Civil Action No. 20-12734
          Plaintiff,

                                             HON. MARK A. GOLDSMITH
   v.

ABSOPURE WATER COMPANY, LLC,

           Defendant.
                                             /

             PLAINTIFF’S MOTION TO STRIKE DEFENDANT’S
             AFFIRMATIVE DEFENSES AND/OR MOTION FOR
                    A MORE DEFINITE STATEMENT

        Pursuant to Federal Rules of Civil Procedures Rule 12 (e) and (f) and the

Local Rules for the Eastern District of Michigan, Plaintiff, Justin Guy (“Guy”)

requests entry of an Order striking Defendant’s First, Second, Third, Fourth, Fifth,

Tenth, Eleventh, Fifteenth, Sixteenth, Seventeenth, Eighteenth, Nineteenth,

Twentieth, Twenty-First, and Twenty-Second Affirmative Defense, as well as

Defendant’s wherefore clause following Defendant’s Twenty-Second Affirmative

Defense served by Defendant, Absopure Water Company (“Absopure.”) or,

alternatively, Motion for a more definite statement concerning Defendant’s Fifth

Affirmative Defense.
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                                BACKGROUND

      1.     The undersigned counsel certifies that counsel communicated in

writing with opposing counsel, explaining the nature of the relief to be sought by

way of this motion and seeking concurrence in the relief, and three business days

have lapsed without opposing counsel expressly agreeing to the relief, orally or in

writing. See Exhibit A.

      2.     On October 8, 2020, Plaintiff filed his collective action complaint

against Absopure for failure to compensate Plaintiff at a rate of one and one-half

times his regular rate for all hours worked in excess of forty (40) hours in a given

workweek, in violation of the Fair Labor Standards Act (“FLSA”). ECF No. 1.

      3.     On January 6, 2021, Defendant filed a Motion to Dismiss Plaintiff’s

collective action complaint pursuant to Federal Rules of Civil Procedure 12(b)(6).

ECF No. 6.

      4.     On February 25, 2021, this Honorable Court issued an Order and

Opinion Denying Defendant’s Motion to Dismiss. ECF No. 11.

      5.     On March 11, 2021, Defendant filed its Answer and Affirmative

Defenses to Plaintiff’s Complaint. ECF No. 12.

      6.     As discussed, infra, Defendant’s First, Second, Third, Fourth, Tenth,

Eleventh, Eighteenth, nineteenth, Twentieth, Twenty-Second affirmative defense,




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as well as Defendant’s wherefore clause are procedurally impermissible and

insufficient as a matter of law.

      7.     Moreover, Defendant’s First, Second, Third, Fifth, fifteenth,

Sixteenth, Seventeenth, Twenty-First boilerplate affirmative defense do nothing

more than recite buzzwords, and are so devoid of any factual basis that they fail to

satisfy the basic fair notice requirement. Rather, these boilerplate affirmative

defenses only state the name of affirmative defenses, and do not allege any

elements of the purported defenses or any facts to support the general allegations

of affirmative defenses.

      8.     For the reasons that follow, Plaintiff respectfully requests entry of an

Order striking these affirmative defenses and wherefore clause. With respect to

Defendant’s Fifth Affirmative Defense, Plaintiff alternatively requests the Court

Order Defendant to provide a more definite statement.




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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


JUSTIN GUY, individually and on
behalf of those similarly situated,
                                              Civil Action No. 20-12734
           Plaintiff,
                                              HON. MARK A. GOLDSMITH
    v.

ABSOPURE WATER COMPANY, LLC,

            Defendant.
                                              /

        PLAINTIFF’S BRIEF IN SUPPORT OF PLAINTIFF’S
    MOTION TO STRIKE DEFENDANT’S AFFIRMATIVE DEFENSES
      AND/OR MOTION FOR A MORE DEFINITE STATEMENT

                                 INTRODUCTION

         On October 8, 2020, Plaintiff filed his collective action complaint against

Defendant for failure to compensate Plaintiff at a rate of one and one-half times his

regular rate for all hours worked in excess of forty (40) hours in a given workweek,

in violation of the Fair Labor Standards Act (“FLSA”). ECF No. 1. On January 6,

2021, Defendant filed a Motion to Dismiss Plaintiff’s collective action complaint

pursuant to Federal Rules of Civil Procedure 12(b)(6) based on the Motor Carrier

Act (“MCA”) exemption. ECF No. 6.1 On March 11, 2021, Defendant filed its

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  The Court denied Defendant’s Motion, holding that “a Rule 12(b)(6) motion
cannot be granted based on ‘alternative facts’ put forth by a defendant” and that the
“plaintiff does not have an affirmative obligation to plead the inapplicability of the
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Answer and Affirmative Defenses to Plaintiff’s Complaint. ECF No. 12. While

Defendant filed several affirmative defenses that Plaintiff takes no issue with,

Defendant filed several other affirmative defenses that are either frivolous,

procedurally impermissible, or insufficient as a matter of law. In an effort to avoid

unnecessary motion practice, on March 18, 2021, Plaintiff sent Defendant a

detailed nine-page, single spaced conferral correspondence with the applicable

legal authority, and requested that Defendant withdraw certain affirmative defenses

which are unattainable as a matter of law. See Ex. A. Unfortunately, Defendant

elected to ignore Plaintiff’s conferral correspondence but did include a paragraph

concerning this discovery dispute in the parties’ Joint Discovery Plan, which does

not provide a substantive response to Plaintiff’s detailed requests. See ECF No.

14. Wherefore, Plaintiff respectfully requests the Court Grant Plaintiff’s Motion,

and Strike Defendant’s Affirmative Defenses as outlined herein.

                           MEMORANDUM OF LAW

      Pursuant to Rule 12(f) of the Federal Rules of Civil Procedure, “the Court

may strike insufficient” affirmative defenses, “or any redundant, immaterial,

impertinent, or scandalous matter.” Fed.R.Civ.P. 12(f). “[A] motion to strike an


MCA exemption in his or her complaint.” ECF No. 11, PageID.222, 225; See also
PageID.225-226 (“To the contrary, none of the cases relied on by Absopure
involve applications of the MCA exemption on a motion to dismiss. Absopure’s
failure to cite any case law in the same procedural posture as this case underscores
the inappropriateness of dismissing Guy’s complaint based on the MCA exemption
at the Rule 12(b)(6) stage.”).
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affirmative defense under Rule 12(f) is proper if the defense is insufficient; that is,

if as a matter of law, the defense cannot succeed under any circumstances.”

Specialized Pharm. Servs., LLC v. Magnum Health & Rehab of Adrian, LLC, No.

12–12785, 2013 WL 1431722, at *5–6 (E.D. Mich. Apr. 9, 2013) (internal

quotation marks and citations omitted). “A motion to strike under Rule 12(f) is

proper where it will eliminate spurious issues before trial and streamline the

litigation” Ameriwood Indus. Int'l Corp. v. Arthur Andersen & Co., 961 F. Supp.

1078, 1083 (W.D. Mich. 1997) (internal citation omitted). This serves judicial

economy and spares the parties of unnecessary litigation expenses. HCRI TRS

Acquirer, LLC v. Iwer, 708 F. Supp. 2d 687, 690 (N.D. Ohio 2010). The Court

retains “‘liberal discretion’ to strike filings as it deems appropriate.” In re Keithley

Instrum., Inc., 599 F.Supp.2d 908, 911 (N.D. Ohio 2009) (citing Nationwide Ins.

Co. v. Cent. Mo. Elec. Corp., Inc., 278 F.3d 742, 748 (8th Cir. 2001).

      In analyzing these pleadings, district courts within the Sixth Circuit have

developed a three-prong test to determine whether an affirmative defense can

survive a motion to strike. See Iwer, 708 F. Supp. 2d at 689; U.S. v. Quadrini, 69

Fed. R. Serv. 3d 953, 956 (E.D. Mich. 2007). First, “the matter must be properly

pleaded as an affirmative defense.” Williams v. Provident Inv. Counsel, Inc., 279

F. Supp. 2d 894, 901 (N.D. Ohio 2003) (citing Heller Fin., Inc. v. Midwhey

Powder Co., Inc., 883 F.2d 1286, 1294 (7th Cir. 1989)). Second, the affirmative


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defense “must be adequately pleaded under the requirements of Fed. R. Civ. P. 8

and 9.” Id.; see also Iwer, 708 F. Supp. 2d at 690; Microsoft Corp. v. Lutian, 1:10

CV 1373, 2011 WL 4496531 (N.D. Ohio 2011). Finally, the affirmative defense

must be able to “withstand a Rule 12(b)(6) challenge.” Id.

      Bell Atlantic Corp. v. Twombly’s holding that a complaint must state

“‘enough facts to state a claim to relief that is plausible on its face’” also applies

“in the context of a defendant asserting an affirmative defense.” Safeco Ins. Co. of

Am. v. O'Hara Corp., No. 08-CV-10545, 2008 WL 2558015, at *1 (E.D. Mich.

June 25, 2008) (quoting Twombly, 127 S.Ct. 1955, 1964-64 (2007)); see also U.S.

v. Quadrini, 2007 WL 4303213, at *4 (E.D. Mich. Dec.6, 2007) (“This

clarification by the Supreme Court that a plaintiff must plead sufficient facts to

demonstrate a plausible claim, or one that has a ‘reasonably founded hope’ of

success, cannot be a pleading standard that applies only to plaintiffs.”) “In this

vein, the court requires attorneys to accept a continuing obligation to eliminate

unnecessary boilerplate in their pleadings.” Safeco Ins. Co. of Am, 2008 WL

2558015, at *1. Affirmative defenses should “provide enough notice to the

opposing party that indeed there is some plausible, factual basis for the assertion

and not simply a suggestion of the possibility that it may apply to the case.” Hayne

v. Green Ford Sales, Inc., 263 F.R.D. 647, 650 (D.Kan.2009). “‘[M]erely listing

affirmative defenses is insufficient [as] ‘they must be supported by factual


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allegations.’” Lutian, 2011 WL 4496531 at * 3 (quoting Openmethods, 2011 WL

2292149 at *2 (quoting Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009)))). “It is

unacceptable for a party’s attorney simply to mouth [affirmative defenses] in

formula-like fashion (‘laches,’ ‘estoppel,’ ‘statute of limitations’ or what have

you), for that does not do the job of apprising opposing counsel and this Court

of the predicate for the claimed defense—which after all is the goal of notice

pleading.” Reis Robotics USA, Inc. v. Concept Indus., Inc., 462 F. Supp. 2d 897,

907 (N.D. Ill. 2006) (emphasis added); see also Bd. of Trustees of IBEW Local

Union No. 100 Pension Tr. Fund v. Fresno's Best Indus. Elec., Inc., No. 1:13-CV-

01545-AWI, 2014 WL 1245800, at *4 (E.D. Cal. Mar. 24, 2014) (“Simply

identifying an affirmative defense by name does not provide fair notice of the

nature of the defense or how it applies in this action no matter which standard

applies.”).

      Furthermore, since Defendant controls virtually all of the documents and

information in this case, it should certainly fall on them to be more forthcoming in

its planned defenses in this case. Again, as many of the courts have noted, this is

both for the opposing side’s benefit, as well as for the Court. Here, Defendant’s

affirmative defenses are so factually deficient that, absent costly and protracted

discovery, Plaintiff cannot sufficiently address these defenses in discovery. Courts

have recognized the costly effect to the Court and litigants for having to litigate a


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matter with boilerplate affirmative defenses. See Iwer, 708 F.Supp.2d 691

(“Boilerplate affirmative defenses that provide little or no factual support can have

the same detrimental effect on the cost of litigation as poorly worded

complaints.”); see also Shinew v. Wszola, 2009 WL 1076279 at *4 (E.D. Mich.

Apr.21, 2009) (“The Twombly decision also observed that discovery costs required

to explore the factual basis for a pleaded claim or defense are a problem.”). As

discussed, infra, Defendant’s formulaic recitations of template affirmative defenses

are so factually insufficient and substantively baseless that they fail to even meet

the former notice pleading requirement, let alone the Iqbal/Twombly standard that

Defendant must abide by in the pleadings of this matter.

      I.     Defendant’s Affirmative Defenses

            A.     First and Second Affirmative Defense

      Defendant’s First and Second affirmative defenses state:

      1. Plaintiff’s Collective Action Complaint fails to state a claim upon
         which relief can be granted, and Defendant is entitled to summary
         judgment as a matter of law.
      2. Plaintiff, and the putative members of the purported class, has
         failed to state a cause of action against the Defendant.

ECF No. 12, PageID.249. First, the Court has denied Defendant’s Motion to

Dismiss based on Rule 12(b)(6). ECF No. 11. Second, this defense is procedurally

improper and must be stricken because “[f]ailure to state a claim is not an

affirmative defense.” J & J Sports Prod., Inc. v. Delgado, 2011 WL 219594, *2


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 (E.D. Cal. January 19, 2011) (emphasis added). Indeed, district courts in the Sixth

 Circuit and beyond specifically held that “the affirmative defense of failure to state

 a claim fails as a matter of law.” Teco Coal Corp. v. Orlando Utilities Com'n,

 6:07-CV-444-KKC, 2010 WL 8750622 at * 17 (E.D. Ky. Sept. 17, 2010).2 This is

 because “[a] defense which points out a defect in the plaintiff's prima facie case is

 not an affirmative defense.” Zeron v. C & C Drywall Corp., Inc., No. 09-60861-

 CIV, 2009 WL 2461771, at *2 (S.D. Fla. Aug. 10, 2009). “When a party

 incorrectly labels a ‘negative averment as an affirmative defense rather than

 as a specific denial [,]... the proper remedy is not [to] strike the claim, but

 rather to treat [it] as a specific denial.” Id. at * 2 (emphasis added).

       Here, Defendant failed to provide any support for its formulaic recitation of

 the Rule 12(b)(6). Plaintiff cannot be expected to address any concerns in his

 complaint as to why said complaint “fails to state a cause of action” without notice

 as to what Defendant allegedly believes is insufficient in his detailed pleadings.

 Defendant provides absolutely no factual support for this conclusory allegation,

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   See also Flathead-Michigan I, LLC v. Penninsula Dev., L.L.C., No. 09-14043,
 2011 WL 940048, at *2 (E.D. Mich. Mar. 16, 2011) (denying Defendant’s motion
 to add the affirmative defense of failure to state a claim “because this boilerplate
 defense has not been clarified or fleshed out and would not pass muster under
 either the fair notice or the Twombly/Iqbal standard…”) (internal quotation marks
 and citation omitted); Reeves v. Wallington, 2008 WL 5060400 at * 1(E.D. Mich.
 2008); Stafford v. Connecticut Life Ins. Co., 95 C 7152, 1996 WL 197677 at * 2
 (N.D. Ill. 1996); Barnes v. AT&T Pension Ben. Plan-Nonbargained Program, 718
 F. Supp. 2d 1167, 1174 (N.D. Cal. 2010) (“Failure to state a claim is not a proper
 affirmative defense ....”).
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 and there is nothing to guide this Court or Plaintiff as to what claim fails for

 relief. See Safeco, 2008 WL 2558015, at *1 (“Boilerplate defenses clutter the

 docket and, further, create unnecessary work. Opposing counsel generally

 must respond to such defenses with interrogatories or other discovery aimed

 at ascertaining which defenses are truly at issue and which are merely

 asserted without factual basis but in an abundance of caution.”) (emphasis

 added). Plaintiff conferred on this issue, but Defendant has failed to respond.

 Accordingly, Plaintiff requests the Court to strike Defendant’s First and Second

 Affirmative defense as a matter of law.

             B.     Third Affirmative Defense

       Defendant’s Third Affirmative Defense states: “To the extent that Plaintiff’s

 claims, as well as the claims of the putative members of the purported class, are

 based on equitable grounds, they are barred by the doctrine of laches, estoppel, and

 unclean hands.” ECF No. 12, PageID.250. Defendant’s boilerplate affirmative

 defense is really three affirmative defenses in one based on the equitable doctrine

 of laches, estoppel, and unclean hands. However, all of these affirmative defenses

 are inappropriate and unavailable in FLSA cases as a matter of law.

       With respect to the laches affirmative defense, the Supreme Court held that,

 where Congress has established a statute of limitations, laches may not be invoked

 to bar damages if the action was brought within the limitations period. Petrella v.


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 Metro-Goldwyn-Mayer, Inc., 572 U.S. 663 (2014).          The Court explained that

 laches “is a defense developed by courts of equity; its principal application was,

 and remains, to claims of an equitable cast for which the Legislature has provided

 no fixed time limitation.” Id. at 1973; see also Operating Engineers Loc. 324

 Health Care Plan v. G & W Const. Co., 783 F.3d 1045, 1054 (6th Cir. 2015)

 (striking the laches affirmative defense “[b]ecause ‘laches within the term of the

 statute of limitations is no defense at law’ to claims for monetary damages”)

 (quoting U.S. v. Mack, 295 U.S. 480, 489 (1935))). Thus, the laches affirmative

 defense is not available in FLSA matters. See e.g., Perez–Nunez v. North Broward

 Hosp. Dist., No. 008–61583–CIV, 2009 WL 723873, at *2 (S.D. Fla. Mar.13,

 2009) (“The doctrines of waiver, estoppel and laches are generally not applicable

 to FLSA claims.”); Ayers v. Consol. Const. Servs. of SW Fla., Inc., No. 2:07–CV–

 123, 2007 WL 4181910, at *1–2 (M.D.Fla. Nov. 26, 2006) (granting motion to

 strike laches and estoppel affirmative defenses because of “the general rule that an

 employee cannot waive her rights under the FLSA without supervision by the

 Secretary of Labor or the Court”); Lynch v. Designs By R&S, Inc., No. 05-80727-

 CIV, 2006 WL 8433640, at *1 (S.D. Fla. Aug. 17, 2006) (striking Defendant’s

 laches affirmative defense because “the defense of laches is not available in

 a FLSA cause of action.”) (emphasis added).




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       Likewise, the estoppel affirmative defense is inapplicable to FLSA

 matters. See e.g., D.A. Schulte, Inc. v. Gangi, 328 U.S. 108, 114-15 (1946)

 (“neither wages nor the damages for withholding them are capable of reduction by

 compromise” under the FLSA); Burry v. National Trailer Convoy, Inc., 338 F. 2d

 422 (6th Cir. 1964) (“Defendant’s contentions of estoppel and violation of the

 parol evidence rule are fallacious . . . . Appellant’s contention that plaintiff is

 precluded from challenging his own time sheets by estoppel and the parol evidence

 rule are inconsistent with both the language and the policy of the Fair Labor

 Standards Act.”) (citing Caserta v. Home Lines Agency, Inc., 273 F.2d 943, 946

 (2d Cir. 1959)); Handler v. Thrasher, 191 F. 2d 120 (10th Cir. 1951); Toney v.

 Dech Corp., No. 2:10-CV-529, 2010 WL 11623057, at *1 (M.D. Fla. Nov. 30,

 2010) (“The general rule is that the defense of estoppel is not available

 in FLSA cases.”) (emphasis added); Hallemeier v. Schnuck Markets, Inc., 1994

 WL 171443 (D. Kan. 1994).

       In the same vein, District Courts have held that an unclean hands affirmative

 defense is unavailable as a matter of law for FLSA claims. See e.g., Lee v. Askin

 Trucking, Inc., No. 05-14335-CIV, 2006 WL 8430906, at *3 (S.D. Fla. Feb. 8,

 2006) (“Because the affirmative defense of waiver and the related defenses of

 estoppel and unclean hands are unavailable under the FLSA, the Court

 concludes that they are unavailable under Florida law.”) (emphasis added); Brock


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 v. Mr. W Fireworks, Inc., 545 F.3d 338, 345 (5th Cir.1987) (“There is neither a

 logical nor legal nexus between the operators subjective desires regarding

 their preferred method of payment and a finding of their employment status.

 Subjective beliefs cannot transmogrify objective economic realities.”)

 (emphasis added). Accordingly, Plaintiff requests this Court to strike Defendant’s

 Third Affirmative Defense.

              C.    Fourth Affirmative Defense:

       Defendant’s Fourth Affirmative Defense states: “There is no actual

 controversy giving rise to an actionable claim.” ECF No. 12, PageID.250. It is

 incomprehensible to ascertain what, if anything, Defendant means by this pleading.

 Indeed, there is a controversy. See Complaint, ECF No. 1. The Court also found a

 controversy exists, and Denied Defendant’s motion to dismiss, reasoning that it

 was premature for the Court to decide on the applicability of the Motor Carrier Act

 (“MCA”) exemption at this juncture and could not consider facts outside of the

 complaint.   ECF No. 11.      Plaintiff again conferred and requested Defendant

 withdraw its Fourth Affirmative Defense, but Defendant has failed to do so, and

 also failed to provide any substantive reason as to the propriety of this affirmative

 defense. Accordingly, Defendant’s Fourth affirmative defense must be stricken.




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             D.     Fifth Affirmative Defense

       Defendant’s Fifth Affirmative Defense states: “Plaintiff is not entitled to the

 relief he seeks because he was at all times an exempt employee under 29 U.S.C. §

 213(b)(1) and 29 C.F.R. § 782.2.” ECF No. 12, PageID.250. 29 U.S.C. §

 213(b)(1) discusses the MCA exemption in general, and 29 C.F.R. § 782.2 likewise

 discusses every plausible component and requirement concerning the MCA

 exemption. “A claim of exemption under the FLSA is an affirmative defense

 that, pursuant to Fed.R.Civ.P.8(c), must be specifically pleaded or it will be

 deemed waived.” Morrison v. Executive Aircraft Refinishing, Inc., 434 F.Supp.2d

 1314, 1318-19 (S.D.Fla.2005) (citing Schwind v. EW & Assocs., Inc., 357

 F.Supp.2d 691, 697-98 (S.D.N.Y.2005)) (emphasis added); see also Judkins v.

 Bloomen Int'l, Inc., No. 809-CV-02538-T-17TBM, 2010 WL 2510665, at *3 (M.D.

 Fla. June 21, 2010) (striking Defendant’s vague affirmative defense that this matter

 should be dismissed because Plaintiff is “exempt from some or all of the FLSA’s

 requirements”, reasoning that “the exemptions of Section 13 are numerous” and

 defendant “fails to both allege evidentiary facts and provide fair notice of the

 asserted defense of exemption.”) (emphasis added).

       Indeed, “the determination whether the MCA exemption applies to route

 drivers who operate wholly within one state is a case-specific and highly fact-

 intensive inquiry.” Thompson v. Eldorado Coffee Roasters Ltd., 246 F. Supp. 3d


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 697, 702 (E.D.N.Y. 2017) (emphasis added); see, e.g., Robinson v. Open Top

 Sightseeing San Francisco, LLC, No. 14-CV-00852-PJH, 2017 WL 2265464, at

 *11 (N.D. Cal. May 24, 2017) (“[T]he applicability of the MCA exemption is a

 factually and legally complicated issue; the case law is extensive, and the test is

 subtle, multi-factored, and fact-intensive.”). Defendant’s Motion to Dismiss, and

 the thirty-five (35) pages of legal briefings previously provided by Defendant

 seemingly includes case law with virtually every possible MCA exemption fact

 pattern that Defendant could locate, and seems to assert that each and every one of

 those facts and arguments are applicable to this matter. See ECF Nos. 6, 7-2, 7-3,

 7-4, 7-5, and 7-6. The amount of discovery Plaintiff would be required to

 complete concerning the essentially limitless arguments Defendant has asserted

 concerning the various potential applications of the MCA exemption will be

 daunting, just to ferret out the precise basis of the purported defense that should

 have been identified in the pleadings. Indeed, as plead, discovery regarding the

 purported exemption will require inspection of virtually every aspect of

 Defendant’s business, will clutter the docket, and create an exorbitant amount of

 unnecessary work in this litigation. See Pitt v. Twp. of Lee, No. 20-CV-13021,

 2021 WL 352000, at *3 (E.D. Mich. Feb. 2, 2021) (“While Rule 8(c) may allow

 pleading in ‘general terms,’ Lawrence, 182 F. App'x at 456, Defendants have no




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 license to “clutter the docket” or ‘create unnecessary work’ with a litany of

 affirmative defenses that fail to meaningfully identify the facts and law at issue.”).

       To be clear, Plaintiff is not claiming that Defendant cannot ultimately plead

 the MCA exemption as an affirmative defense. Rather, Plaintiff asserts that, as

 plead, the defense is insufficient and should be stricken, or, at the very least,

 Defendant must be required to abide by the pleading requirements and provide

 adequate notice and a more definite statement of the factual basis concerning

 Defendant’s claimed application of the MCA exemption affirmative defense to the

 extent it intends to rely on same. See Iwer, 708 F.Supp.2d 691 (“Boilerplate

 affirmative defenses that provide little or no factual support can have the same

 detrimental effect on the cost of litigation as poorly worded complaints.”); see also

 Shinew v. Wszola, 2009 WL 1076279 at *4 (E.D. Mich. Apr.21, 2009) (“The

 Twombly decision also observed that discovery costs required to explore the factual

 basis for a pleaded claim or defense are a problem.”). Accordingly, Plaintiff

 respectfully requests that Defendant’s Fifth Affirmative Defense be stricken, or a

 more definite statement be provided.

              E.     Tenth Affirmative Defense:

       Defendant’s Tenth Affirmative Defense states: “Plaintiff and the putative

 members of the purported class have suffered no damages.” ECF No. 12,

 PageID.250. This appears to be a simple defense to the case; not an affirmative


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 defense.      See    Toney,    2010    WL     11623057,     at   *2   (“In   the   Fourth

 Amended Affirmative Defense, the Defendants ‘deny any liability; however,

 regardless of liability, Plaintiff has suffered no damages as a result of Defendants’

 purported violations.’ (Doc. 21, p. 3). The Defendants cite no cases to support

 this affirmative defense, and this affirmative defense appears to be a simple

 defense of the case. The Court will strike the Fourth Amended Affirmative

 Defense.”) (emphasis added). Thus, Plaintiff respectfully requests that Defendant’s

 Tenth Affirmative defense be stricken.

                 F.     Fifteenth, Sixteenth and Seventeenth Affirmative Defense:

           Defendant’s Fifteenth, Sixteenth, and Seventeenth Affirmative Defense

 states:

           15. Plaintiff may not maintain this action as a class action. The
           Collective Action Complaint fails to satisfy the requirements of
           maintaining a class action under federal law, including, but not limited
           to 29 U.S.C. § 216(b).

           16. Plaintiff’s claims are barred in whole or in part because the class is
           not so numerous that joinder of all members is impracticable.

           17. Plaintiff’s claims are barred in whole or in part because no
           common questions of law or fact exist among alleged class members
           sufficient to merit class action treatment.


 ECF No. 12, PageID.251. Defendant’s boilerplate Fifteenth, Sixteenth, and

 Seventeenth Affirmative Defenses are frivolous because Plaintiff has not sought to

 certify a Rule 23 class action, but a collective action under the FLSA.                See

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 Fed.R.Civ.P. 23. Unlike class actions brought pursuant to Rule 23, representative

 actions under the FLSA brought pursuant to 29 U.S.C. Section 216 have no

 statutorily mandated class certification procedure to determine numerosity,

 commonality, typicality, and representativeness; the only statutory criterion for

 certification is that the putative plaintiffs be “similarly situated.” Accordingly,

 Plaintiff request this Court strike Defendant’s frivolous Fifteenth, Sixteenth, and

 Seventeenth Affirmative Defenses.

              G.     Eighteenth Affirmative Defense:

       Defendant’s Eighteenth affirmative defense states: “Plaintiff’s claims are

 barred in whole or in part by the doctrine of waiver and/or acquiescence.” ECF No.

 12, PageID.252. As a matter of law, one cannot waive, release, compromise, or

 acquiesce his or her rights under the FLSA. See, Brooklyn Savings Bank v. O-

 Neill, 324 U.S. 697, 706-07 (1945) (“We are of the opinion that the same policy

 considerations which forbid waiver of basic minimum and overtime wages

 under the Act also prohibit waiver of the employee's right to liquidated

 damages.”) (emphasis added).3 Thus, Plaintiff respectfully requests Defendant

 strike their eighteenth affirmative defense.


 3
   See also e.g., Tho Dihn Tran v. Alphonse Hotel Corp., 281 F.3d 23 (2d Cir.
 2002); Reich v. Stewart, 121 F.3d 400, 407 (8th Cir. 1997) (An individual cannot
 waive entitlement to FLSA benefits); Lynn’s Food Stores, Inc. v. U.S. Dept. of
 Labor, 679 F.2d 1350 (11th Cir. 1983); Brennan v. Veteran Cleaning Services,
 Inc., 482 F.2d 1362 (5th Cir. 1973) (“It has long been recognized that the
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              H.    Nineteenth Affirmative Defense:

       Defendant’s Nineteenth Affirmative Defense states: “Plaintiff’s claims are

 barred in whole or in part by the doctrine of unjust enrichment.” ECF No. 12,

 PageID.251. Unjust enrichment is not an affirmative defense, and is also

 inapplicable to FLSA cases. See e.g., Jewell Ridge Coal Corp. v. Local No. 6167,

 United Mine Workers of Am., 325 U.S. 161, 167 (1945) (“And even those

 employers who pay wages above the minimum and who maintain no substandard

 working conditions must respect the [FLSA’s] statutory pattern.... employees are

 not to be deprived of the benefits of the Act simply because they are well paid....”);

 Saenz v. Rod's Prod. Servs., LLC, No. 2:14-CV-00525 RB-GBW, 2015 WL

 12866986, at *7 (D.N.M. June 23, 2015) (“[T]he Court will not approve an

 affirmative claim of unjust enrichment to recover duly paid wages, even if Plaintiff




 protection afforded by the Fair Labor Standards Act may not be waived by
 agreement between employer and employee.”); Benion v. LeCom Commc'ns, Inc.,
 No. 15-14367, 2018 WL 7890861, at *1 (E.D. Mich. Dec. 7, 2018) (“An
 employee’s right to overtime premium wages under the FLSA is mandatory and is
 not subject to bargaining, waiver, or modification by contract or settlement.”)
 (citing Brooklyn Savings Bank v. O’Neil, 324 U.S. 697, 706 (1945))); Lynch v.
 Designs By R&S, Inc., No. 05-80727-CIV, 2006 WL 8433640, at *2 (S.D. Fla.
 Aug. 17, 2006) (“As courts have expressly noted that the equitable defense of
 waiver is not available under the FLSA, the court concludes that the
 Defendants’ Affirmative Defense of waiver shall be stricken.”) (emphasis
 added).
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 was paid well under the contract.”).4 Thus, Plaintiff requests the Court Strike

 Defendant’s nineteenth affirmative defense.

             I.     Twentieth Affirmative Defense

        Defendant’s Twentieth Affirmative Defense states: “Plaintiff’s claims are

 barred in whole or in part by the doctrine of consent.” ECF No. 12, PageID.251.

 The doctrine of consent is not a valid affirmative defense to claims made under the

 FLSA. See Levine v. Merrill Lynch, No. 09 CIV. 304 (PGG), 2009 WL 10691070,

 at *7 (S.D.N.Y. Dec. 22, 2009). (“Because the doctrine of consent is not a

 valid affirmative defense to claims made under the FLSA, and because Plaintiff

 Kobakhidze alleges only claims under the FLSA, her motion to strike this

 defense will be granted.”) (emphasis added). Indeed, in Barrentine v. Arkansas-

 Best Freight System, the Supreme Court stated that:

        This Court's decisions interpreting the FLSA have frequently
       emphasized the nonwaivable nature of an individual employee’s right
       to a minimum wage and to overtime pay under the Act. Thus, we have
       held that FLSA rights cannot be abridged by contract or otherwise
       waived because this would ‘nullify the purposes’ of the statute and
       thwart the legislative policies it was designed to effectuate.


 4
   See also e.g., Saarela v. Union Colony Protective Servs., Inc., No. 13-CV-01637-
 MSK-MJW, 2014 WL 3408771, at *5 (D. Colo. July 14, 2014)( “Since Donovan,
 most courts considering the issue have generally agreed that setoffs and
 recoupments are disfavored in FLSA suits.”)(internal citations omitted); Brennan
 v. Heard, 491 F.2d 1, 4 (5th Cir.1974) (holding that set-offs and counterclaims are
 inappropriate in cases brought to enforce the FLSA's minimum wage and overtime
 provisions.) rev'd on other grounds by McLaughlin v. Richland Shoe Co., 486 U.S.
 128 (1988)).
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 450 U.S. 728, 740 (1981) (quoting Brooklyn Savings Bank v. O'Neil, 324 U.S. 697,

 707 (1945)); see also Craig v. Bridges Bros. Trucking LLC, 823 F.3d 382, 388 (6th

 Cir. 2016) (reversing the district court’s decision that would allow an employee to

 voluntarily opt out of her rights under the FLSA, reasoning that such a holding

 contradicts Barrentine which held that FLSA rights cannot be waived.).

 Accordingly, Plaintiff requests the Court Strike Defendant’s Twentieth affirmative

 defense.

             J.     Twenty-First Affirmative Defense:

       Defendant’s Twenty-first affirmative defense states: “Defendant reserves the

 right to raise additional Affirmative Defenses as they may become known through

 the course of discovery.” ECF No. 12, PageID.252. Catchall defenses are grossly

 improper because they do not provide Plaintiff or the Court fair notice of the

 claimed defenses – which, after all, is the goal of notice pleading. As a result,

 catchall affirmative defenses are categorically dismissed and waived. See e.g.,

 Castro v. Chicago Hous. Auth., 360 F.3d 721, 735 (7th Cir.2004) (noting that when

 a defendant does not raise defenses at the time of filing an answer, those defenses

 are deemed waived); Pitt, 2021 WL 352000, at *4 (striking defendant’s affirmative

 defense to amend the affirmative defenses with any additional affirmative

 defenses, because “‘[A] reservation of right seeking to preserve unknown

 affirmative defenses subverts Federal Rule of Procedure 15.’”) (quoting Paducah


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 River Painting, Inc. v. McNational Inc., No. 5:11-CV-00135-R, 2011 WL

 5525938, at *5 (W.D. Ky. Nov. 14, 2011)).5 Accordingly, Defendant’s Twenty-

 First catchall Affirmative defense is improper and must be stricken.

              K.      Twenty-Second Affirmative Defense:

       Defendant’s Twenty-Second Affirmative Defense states: “Defendant

 demands a reply to each and every Affirmative Defense herein.” ECF No. 12,

 PageID.252. This is plainly not an affirmative defense, and there is no nothing in

 the Federal Rules of Civil of Procedure that permits such a demand for a “reply” to

 its affirmative defenses. Plaintiff conferred with Defendant, and asked Defendant

 “under what authority does Defendant ‘demand a reply’ to its affirmative

 defenses?” Ex. A, p. 9. However, Defendant ignored Plaintiff’s conferral, and has

 5
   See also e.g., Grace v. Ross Dress for Less, Inc., No. 5:19-CV-199-TBR, 2020
 WL 695658, at *1 (W.D. Ky. Feb. 11, 2020) (granting plaintiff’s motion to strike
 defendant’s affirmative defense that reserved the right to assert additional defenses
 because it failed to provide proper notice of the intended defense); Toney, 2010
 WL 11623057, at *2 (“The Defendants assert in the Fifth Amended Affirmative
 Defense that they reserve the right to assert additional defenses. The Defendants
 have failed to cite any cases which permit them to reserve the right to bring
 additional Affirmative Defenses at a later date. Therefore, the Court will strike the
 Fifth Amended Affirmative Defense.”); Gonzalez v. Spears Holdings, Inc., 2009
 WL 2391233, at *4 (S.D. Fla. July 31, 2009) (striking a reservation of rights clause
 asserted as an affirmative defense); Curry v. High Springs Fam. Prac. Clinic &
 Diagnosis Ctr. Inc., No. 1:08-CV-00008-MP-AK, 2008 WL 5157683, at *5 (N.D.
 Fla. Dec. 9, 2008); Visco Fin. Services, Ltd. v. Siegel, 08-C-4029, 2008 WL
 4900530 at * 7 (N.D. Ill. Nov. 13, 2008) (“Affirmative defense 24 states that
 “[Siegel] reserves the right to assert additional affirmative defenses upon
 information and discovery,” which is impermissibly pled because if a party does
 not bring an affirmative defense in its first responsive pleading, then it is waived);
 Ayers, 2007 WL 4181910, at *2.
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 not withdrawn its Twenty-Second Affirmative defense. Defendant’s defense is

 again frivolous, and Plaintiff requests this Court to strike the defense.

              L.      Defendant’s Wherefore Clause:

       Defendant includes a “Wherefore clause” that requests the Court “dismiss

 this matter in its entirety and award Defendant its costs and reasonable attorney

 fees associated with this action.” ECF No. 12, PageID.252. First, Defendant

 cannot seek to “strike” Plaintiff’s Complaint in its wherefore clause to its

 affirmative defenses. Second, Defendant request for attorneys’ fees is improper.

 Section 29 U.S.C. 216(b) provides that the Court “shall, in addition to any

 judgment awarded to the plaintiff or plaintiffs, allow a reasonable attorney’s fee to

 be paid by the defendant, and costs of the action.”          It is axiomatic that this

 provision is interpreted to allow prevailing plaintiffs, not prevailing defendants to

 recover attorneys’ fees and costs under cases brought under the FLSA. See e.g.,

 Fegley v. Higgins, 19 F.3d 1126, 1135 (6th Cir. 1994) (holding that defendants

 may not recover attorney’s fees in defending FLSA actions); Gonzalez v. Holdings,

 Inc., 2009 WL 2391233 (S.D.Fla. July 31, 2009) (striking reservation of rights

 cause claiming entitlement to fees in Defendant’s answer in FLSA case); Perez-

 Nunez v. North Broward Hosp.Dist., 2009 WL 723873 (S.D.Fla. July 31, 2009)

 (same); Hutton c. Grumpie’s Pizza and Subs, Inc., 2008 WL 1995091 (S.D.Fla.

 May 7, 2008) (striking Defendant’s wherefore clause in FLSA case seeking


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 attorneys’ fees); Ayers, 2007 WL 4181910 (striking FLSA Defendant’s affirmative

 defense seeking attorneys’ fees); Bell v. Mynt Entertainment, LLC, 223 F.R.D. 680

 (S.D. Fla. July 13, 2004) (“The FLSA, however, is not a two-way fee-shifting

 statute. Attorney’s fees are awarded to prevailing plaintiffs, but no similar

 provision is made for prevailing defendants.”) (emphasis added). Thus,

 Defendant’s wherefore clause is improperly pled and/or insufficient, and must also

 be stricken.




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                                      CONCLUSION

       Plaintiff respectfully requests the entry of an Order striking Defendant’s

 First, Second, Third, Fourth, Tenth, Eleventh, Fifteenth, Sixteenth, Seventeenth,

 Eighteenth, Nineteenth, Twentieth, Twenty-First, Twenty-Second Affirmative

 Defense, as well as Defendant’s wherefore clause following Defendant’s Twenty-

 Second Affirmative Defense.      Plaintiff also respectfully requests the entry of an

 Order striking Defendant’s Fifth affirmative defense or, in the alternative, an Order

 requiring Defendant to provide a more definite statement concerning its fifth

 affirmative defense, and any other relief this Court deems just and proper.

 Dated: April 1, 2021

                                    Respectfully submitted,

                                    By: /s/ Michael N. Hanna,
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                        LOCAL RULE CERTIFICATION

       LOCAL RULE CERTIFICATION: I, Michael Hanna, certify that this

 document complies with Local Rule 5.1(a), including: double-spaced (except for

 quoted materials and footnotes); at least one-inch margins on the top, sides, and

 bottom; consecutive page numbering; and type size of all text and footnotes that is

 no smaller than 10-1/2 characters per inch (for non-proportional fonts) or 14 point

 (for proportional fonts). I also certify that it is the appropriate length. Local Rule

 7.1(d)(3).

                                                     /s/ Michael N. Hanna
                                                     Michael N. Hanna




                              CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed using the

 CM/ECF system on April 1, 2021, which I understand will send a notice of

 same to all counsel of record.


                                                     /s/ Michael N. Hanna
                                                     Michael N. Hanna




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